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 11
 12                          UNITED STATES DISTRICT COURT
 13                        CENTRAL DISTRICT OF CALIFORNIA
 14                                                      Case No.: 2:16-cv-05051-GW-AFM
      ALS SCAN, INC., a Maryland
 15   corporation,                                       PLAINTIFF’S TRIAL BRIEF ON
 16                                                      MIL 1, “ACTUAL DAMAGES,”
                   Plaintiff,                            “FAIR MARKET VALUE” AND
 17                                                      THE BARRED KINRICH OPINION
 18      vs.                                             Trial Date: May 1, 2018
 19                                                      Time: 8:30 a.m.
      CLOUDFLARE, INC., a Delaware                       Place: Courtroom 9D
 20   corporation, et al.,                                      350 W. 1st Street
 21                                                             Los Angeles, CA
                    Defendants.
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        Plaintiff’s Trial Brief – MIL 1, “Actual Damages” “Fair Market Value” and the Barred Kinrich
                                                   Opinion
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  1         Plaintiff seeks to exclude Kinrich Opinion B, all ALS tax returns and all
  2   exhibits and testimony re ALS’s actual receipts and profitability. The evidence
  3   should be excluded because:
  4             • Kinrich opines to an ultimate legal conclusion, “causation”
  5             • “Causation” isn’t an element of a copyright claim (if there is
  6                 contributory infringement, the jury shall then weigh an award of
  7                 statutory damages); and
  8             • In any event, “actual damages” in a copyright case don’t include
  9                 actual revenues and profitability, rather, actual damages consist of
 10                 lost license fees or royalties, of which there is no evidence.
 11         Plaintiff seeks to exclude Kinrich Opinion C, and all testimony and
 12   exhibits concerning sale of ALS from Alex Kirn to Sarah Walsh, which
 13   Cloudflare uses to derive a barred opinion on the “fair market value” of ALS’s
 14   works.
 15         Having conferred with Cloudflare, Cloudflare insists on introducing all of
 16   this into evidence, even though Plaintiff will not.
 17         Please read Doc. 464 pp. 1-3, Doc. 497 pp. 1-4 and Doc. 505.
 18
 19   DATED: April 27, 2018                         SPILLANE LAW GROUP PLC
                                                    GALLAGHER & KENNEDY, P.A.
 20
 21
 22
                                                    By: _____________________________
 23                                                             Jay M. Spillane
                                                    Attorneys for Plaintiff ALS Scan, Inc.
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                                                     1
        Plaintiff’s Trial Brief – MIL 1, “Actual Damages” “Fair Market Value” and the Barred Kinrich
                                                   Opinion
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                                  PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this action. My business address is: 468 N. Camden Drive, Second Floor,
Beverly Hills, CA 90210-4507. A true and correct copy of the foregoing document entitled (specify):
PLAINTIFF’S TRIAL BRIEF ON MIL 1, “ACTUAL DAMAGES,” “FAIR MARKET
VALUE” AND THE BARRED KINRICH OPINION will be served or was served (a) on the judge in
chambers in the form and manner required by Local Rules and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and Local Rules, the foregoing document will be served by the court via NEF and hyperlink to the document. On
(date) April 27, 2018, I checked the CM/ECF docket for this action and determined that the following persons are on the
Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Gary L. Bostwick– gbostwick@B1Law.com                           Colin TJ O’Brien – tm@partridgepartnerspc.com
Kevin S. Toll – kevin@silversteinlegal.com                      John L. Ambrogi – jla@partridgepartnerspc.com
Lawrence G. Walters – larry@firstamendment.com                  Daniel L Rogna daniel@partridgepartnerspc.com
Corey D. Silverstein – corey@silversteinlegal.com               Paul Supnick – paul@supnick.com
Rachel Kassabian – rachelkassabian@quinnemanuel.com             Raymond Katrinak – pkatrinak@kernanlaw.net
Carolyn M. Homer – carolynhomer@quinnemanuel.com                Ryan Carreon – rcarreon@kernanlaw.net
Mark Thomas Gray markgray@quinnemanuel.com                      Stephen M Kernan – kernanlaw@gmail.com
Armen Nercessian anercessian@fenwick.com                        John P Flynn john.flynn@gknet.com
Jedediah Wakefield jwakefield@fenwick.com                       Kevin D Neal kevin.neal@gknet.com
Sapna S Mehta smehta@fenwick.com

                                                                             Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date) April 27, 2018, I served the following persons and/or entities at the last known addresses in this case by placing
a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed
as follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later than 24
hours after the document is filed.

                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling Local Rule, on (date) April 27, 2018, I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in
writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.

Served by Overnight Mail or Attorney Service
Hon. George H. Wu
U.S. District Court
         st
350 W. 1 Street
Courtroom 9D
Los Angeles, CA 90012                                                      Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 4/27/2018                   Jessie Gietl

 Date                     Printed Name                                         Signature
